       Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 1 of 11

                                                                                           Execution Version


                                  SENIOR SECURED CREDIT NOTE

$500,000.00                                                                              December 22, 2021

         The undersigned, SOURCEWATER, INC., a Delaware corporation d/b/a Sourcenergy
(“Borrower”), for value received, without grace, in the manner, on the dates and in the amounts herein
stipulated, promises to pay to the order of Energy Debt Holdings LLC, a Texas limited liability company
(“Lender”), or any of its successors or assigns, at PO Box 249, Oklahoma City, Oklahoma 73101, or at such
other place as the holder of this Senior Secured Credit Note (this “Note”) may hereafter designate, the sum
of all advances made by Lender to Borrower pursuant to the terms of this Note, which advances shall be,
and shall not exceed in the aggregate, FIVE HUNDRED THOUSAND AND 00/100 DOLLARS
($500,000.00) (the “Borrowing Base”), recorded and detailed on the advance schedule attached hereto (as
may be updated from time to time in accordance herewith, the “Advance Schedule”), in lawful money of
the United States of America, together with interest accruing from the date of each advance at the interest
rate herein specified.
        1.       Interest Rate.
                (a)    Interest on the outstanding and unpaid principal balance of each advance made
hereunder shall be computed at a rate equal to twelve percent (12%) per annum.
                 (b)     Unless otherwise specified below, interest shall compound on a monthly basis.
                 (c)     All past due principal and interest payable under this Note, whether due as a result
of acceleration of maturity or otherwise, shall bear interest from date due until paid at an interest rate equal
to fifteen percent (15%) per annum.
        2.       Loan.
                 (a)      It is expressly agreed that this Note evidences a senior debt up to and including the
Borrowing Base. The Note is not revolving. Accordingly, the total of all advancements of principal recorded
on the Advance Schedule shall not exceed the Borrowing Base, and once repaid cannot be borrowed upon
again. It is contemplated that the principal of this Note may be advanced to Borrower in a series of
advancements to be made from time to time. In particular, advances hereunder may be made by Lender or
the holder hereof at the written request of any officer or authorized agent of Borrower transmitted at least
four (4) weeks prior to the distribution of each such requested advance amount. The amounts of the
advances and payments shall be promptly and accurately recorded by Lender on the Advance Schedule and
shall be binding upon Borrower as to the amount owed by Borrower. Borrower may only borrow up to the
amount of the Borrowing Base and the total advances shall not exceed the Borrowing Base. This Note may
be paid partially or in full without penalty from time to time. The Note shall be in full force and effect, if
and while any amounts have been advanced and are still outstanding.
                (b)     Borrower hereby authorizes Lender to endorse and record on the Advance
Schedule or any continuation thereof, all advances made to Borrower hereunder which endorsements shall
be prima facie evidence as to the outstanding principal amount of this Note.
                  (c)    Under no circumstances shall the unpaid principal amount hereof at any time, for
any reason, exceed the Borrowing Base, Borrower further covenants and agrees to pay any excess principal
amount forthwith upon demand. Such excess principal amount shall in all respects be deemed to be
included among the loans or advances made pursuant to the other terms of this Note and shall bear interest
at the rate hereinabove stated.

                                                       1
       Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 2 of 11




               (d)     This Note is secured by certain assets and property as set forth in the Security
Agreement of even date herewith.

                 (e)      In the event (i) Borrower enters into a transaction or series of related transactions
in which a person, or a group of related persons, acquires from Borrower securities (convertible or
otherwise) representing more than fifty percent (50%) of the outstanding voting power of Borrower; (ii)
Borrower enters into a transaction or series of related transactions to sell all or substantially all of its assets;
(iii) Borrower enters into a transaction or series of related transactions to borrow funds, insofar as any such
transactions are subordinate to this Note and Borrower has obtained prior, written consent from Lender
(consent not to be unreasonably withheld) in an amount over five hundred thousand and 00/100 dollars
($500,000) or (iv) raise capital from a third-party or third parties for any amount, however de minimus,
Borrower agrees to apply the proceeds received by Borrower to the outstanding balance of this Note, so
long as doing so would not violate applicable law. Specifically, all proceeds received by Borrower from
any future Economic Injury Disaster Loan (“EIDL”) shall first be applied to the outstanding balance of this
Note in accordance with this section.
                (f)     The indebtedness evidenced by this Note shall be senior to all other indebtedness
of Borrower and, in no event shall any transaction listed in Section 2(e) or any other indebtedness or
obligation of Borrower (including, but not limited to, the Adler Note (as defined below)) cause this Note to
rank junior or be subordinated, save and except for the EIDL entered into by Borrower with an effective
date of May 16, 2020, and as modified or may be modified.

                (g)    Borrower may utilize advances made hereunder as necessary for the operation of
its business, which may include repaying up to $50,000 advanced by John Hoskinson to Borrower in
accordance with the Revolving Security Note entered into between Borrower and Joshua Adler, effective
December 10, 2020 (the “Adler Note”).
        3.       Payments.
                (a)      For each advance made hereunder, as recorded and detailed on the Advance
Schedule, the unpaid principal balance of this Note with accrued but unpaid interest thereon shall be due
and payable on or before March 11, 2023 (the “Maturity Date”). Borrower shall, at minimum, submit
payment to Lender in the amount of the accrued interest on a fiscal quarter basis, with the first such payment
being due April 1, 2022.
                 (b)     Borrower reserves the right of prepaying the principal of this Note, in full or in
part, at any time without the payment of any prepayment premium or fee. Interest accrued but unpaid with
respect to any amount prepaid shall be due and payable on the date of such prepayment. Any payment made
shall be applied by Lender first to all accrued unpaid interest and then to any advanced principal.
                 (c)      All payments or prepayments made under this Note shall be made to Lender no
later than 12:00 p.m., Houston, Texas time, in same day funds. Any payment received by Lender after such
time shall be considered for all purposes (including the calculation of interest) as having been made on the
next day. If any payment or required prepayment of principal or interest shall become due on a day that is
not a day on which commercial banks in the city of Houston, Texas are open for business, such payment
shall be due on the next succeeding Business Day and such extension of time shall be included in computing
interest due with respect to such payment. A check, draft, money order, or other instrument given in
payment for any payment or prepayment made hereunder may be accepted by Lender hereof and handled
for collection in the customary manner, but the same shall not constitute payment hereunder or diminish

                                                         2
       Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 3 of 11




any rights of Lender except to the extent that actual cash proceeds of such instrument are unconditionally
and irrevocably received by Lender.
         4.       Default. It is expressly agreed and understood that time is of the essence concerning this
Note, and that (a) if default shall be made in any payment of principal or interest on this Note as the same
shall become due and payable; (b) if there is a default in any of the terms, covenants, agreements, conditions
or provisions set forth in this Note any agreement, instrument or document given to secure this Note or
executed in connection with this Note; (c) should either Borrower or any acceptor, endorser, surety,
guarantor, accommodation party or other person now or hereafter primarily or secondarily liable upon or
for the payment of all or any part of this Note (each such person being hereinafter referred to as an “other
liable party”), become insolvent immediately following the first advance hereunder or while any amount
under this Note remains outstanding or commit an act of bankruptcy or make an assignment for the benefit
of creditors or authorize the filing of a voluntary petition in bankruptcy or should a receiver of any of the
property of Borrower or any other liable party be appointed; (d) should involuntary bankruptcy proceedings
be filed or threatened against either Borrower or any other liable party; (e) if a writ or order of attachment
or garnishment shall be issued or made against any property of Borrower or any other liable party; or (f) if
Borrower or any other liable party shall be dissolved, wound up, liquidated or otherwise terminated, or
becomes a party to any merger or consolidation without the written consent of the holder hereof or if
Borrower or any other liable party shall sell substantially all of its assets without the written consent of
Lender; then in any such event (each of such events described in any of clauses (a) through (f) of this
Section 4, being an “Event of Default”), Lender, at its sole option, may (x) declare the entirety of this Note,
together with all accrued but unpaid interest hereon, immediately due and payable, without notice, protest,
demand, presentment, notice of intent to accelerate or notice of acceleration all of which are hereby
expressly and specifically waived by Borrower and all other liable parties, and (y) pursue any and all other
rights, remedies and recourses available to Lender, at law or in equity, and failure to exercise either said
option shall not constitute a waiver on the part of Lender of the right to exercise either said option at any
other time.
         5.      Notwithstanding Section 4, if an Event of Default described in clauses (a) or clause (b) of
Section 4 shall occur, prior to Lender exercising any of its options set forth in clauses (x) and (y) of
Section 4 or taking any other adverse action or remedies against Borrower (collectively, “Remedies”),
Lender and Borrower agree that (a) Lender will notify the Board of Directors of Borrower in writing of
such default and that Borrower shall have sixty (60) days from the date of Borrower’s receipt of such notice
to cure or correct such Event of Default; (b) during such 60-day time period, Lender shall not pursue any
of his Remedies; and (c) Borrower will promptly notify all holders of its preferred stock and convertible
promissory notes (each a “Cure Party” and collectively, the “Cure Parties”) in writing of such Event of
Default in order to permit one or more Cure Parties to cure or correct such Event of Default; provided,
however, that if such Event of Default would be cured or corrected by the payment of amounts due to
Lender hereunder, the Cure Parties will have the option to cure and correct such Event of Default by paying
all amounts due to Lender hereunder to Borrower (who in exchange will pay Lender such amounts) in
exchange for a promissory note from Borrower in substantially the same terms and conditions as this Note
(e.g. a promissory note secured by the assets of Borrower, with a similar interest rate and maturity date) or
under other terms and conditions as Borrower and such Cure Parties may agree.
        6.      Collection Costs. If this Note is not paid at maturity, however such maturity may be brought
about, and this Note is placed in the hands of an attorney for collection or if collection by suit or through
the probate court, bankruptcy court, or by any other legal or judicial proceeding is sought, Borrower agrees


                                                      3
       Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 4 of 11




to pay all expenses incurred, including reasonable attorneys’ fees, all of which shall become a part of the
principal hereof.
         7.      Waiver. Except as set forth in Section 5, Borrower expressly waives presentment and
demand for payment, notice of default, notice of intent to accelerate maturity, notice of acceleration of
maturity, protest, notice of protest, notice of dishonor, and all other notices and demands for which waiver
is not prohibited by law, and diligence in the collection hereof. No delay or omission of Lender in exercising
any right hereunder shall be a waiver of such right or any other right under this Note.
         8.       Usury. It is the intention of Borrower and Lender to conform strictly to applicable usury
laws. Accordingly, notwithstanding any provision to the contrary in this Note, the aggregate of all interest
and any other charges or consideration constituting interest under applicable usury law that is taken,
reserved, contracted for, charged or received under this Note, or otherwise in connection with this loan
transaction shall under no circumstances exceed the maximum amount of interest allowed by the usury law
applicable to this loan transaction. If any excess interest charge or consideration in such respect is taken,
reserved, contracted for, charged, received or provided for, or shall be adjudicated to be so taken, reserved,
contracted for, charged, received or provided for, in this Note, whether by the terms of this Note or because
the maturity of the indebtedness evidenced by this Note is accelerated for any reason, or in the event of any
required or permitted prepayment, then in any such event (a) the provisions of this Section 8 shall govern
and control; (b) neither Borrower nor Borrower’s legal representatives, successors or assigns or any other
liable party shall be obligated to pay the amount of such interest to the extent that it is in excess of the
maximum interest permitted by applicable law (the “Maximum Rate”); (c) any excess shall be deemed a
mistake and cancelled automatically and, if theretofore paid, shall be credited on this Note by Lender (or if
this Note shall have been paid in full, refunded to Borrower); and (d) the effective rate of interest shall be
automatically subject to reduction to the Maximum Rate allowed as the usury law may now or hereafter be
construed by courts of appropriate jurisdiction. Without limiting the foregoing, all calculations of the rate
of interest taken, reserved, contracted for, charged, received or provided for under this Note, which are
made for the purpose of determining whether the interest rate exceeds the Maximum Rate shall be made,
to the extent allowed by law, by amortizing, prorating, allocating and spreading in equal parts during the
period of the full stated term of the loan evidenced hereby, all interest at any time taken, reserved, contracted
for, charged, received or provided for under this Note.
        9.      Covenants. Unless Lender shall otherwise consent in writing, until payment in full of this
Note and the satisfaction of all obligations arising under this Note and any and all collateral or other loan
documents related thereto, Borrower agrees that:
         (a)     Borrower will not incur, create, assume, have outstanding, guarantee or otherwise be or
become, directly or indirectly, liable in respect of any indebtedness, obligations or liabilities (collectively,
“Indebtedness”), without written consent from Lender, except (i) Indebtedness arising pursuant to this Note,
the Adler Note or the EIDL; (ii) other Indebtedness to Lender; (iii) unsecured accounts payable that (1) are
incurred in the ordinary course of business, (2) are payable on terms customary in the trade, and (3) are to
be paid within 120 days of the date of invoice or are being contested in good faith; (iv) taxes, assessments
or other government charges which are not yet due or are being contested in good faith; or (v) Indebtedness
not to exceed $250,000 in the aggregate at any time outstanding.

        (b)    Borrower will not (i) grant, create, incur, permit or suffer to exist any lien (except Permitted
Liens) upon any of its property, revenues, or assets, whether now or hereafter acquired, or (ii) agree with
any person (other than in this Note and the other Loan Documents) that Borrower will not grant, create,


                                                       4
       Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 5 of 11




incur, permit or suffer to exist any lien upon any of its property or assets, except for Permitted Liens. For
purposes of this subparagraph, “Permitted Liens” means and shall consist of (i) liens granted to Lender to
secure the Indebtedness to Lender, (ii) pledges or deposits made to secure payment of workers’
compensation insurance (or to participate in any fund in connection with worker’s compensation insurance),
unemployment insurance, pension or social security programs, (iii) liens imposed by mandatory provisions
of law such as carrier’s, materialmen’s, mechanics’, warehousemen’s, landlord’s and similar liens arising
in the ordinary course of business, securing Indebtedness not yet due, (iv) liens for taxes, if the same are
not yet due and payable, (v) liens arising in the ordinary course of business from pledges or deposits to
secure public or statutory obligations, deposits to secure (or in lieu of) surety, stay, appeal or customs bonds,
and deposits to secure the payment of taxes, and (vi) encumbrances consisting of zoning restrictions,
easements, rights-of-way, or restrictions, provided that such items do not impair the use or ownership of
any property for the purposes intended, and none of which are violated by existing or proposed structure or
land use.

        (c)      Borrower will not consent to or permit any alteration, amendment, modification, release,
waiver or termination of any material agreement to which Borrower is a party in any manner which would
have a Material Adverse Effect or which could impair any lien of Lender. For purposes of this
subparagraph, “Material Adverse Effect” means any circumstance or event which (i) has any material
adverse effect whatsoever upon the validity, performance, perfection or enforceability of any of the Loan
Documents or the financial condition or business operations of Borrower, (ii) materially impairs the ability
of Borrower to fulfill its obligations under the Loan Documents, or (iii) results in or causes an Event of
Default. For clarity, a modification of the EIDL shall not be considered to have a Material Adverse Effect.

        (d)      Borrower will not sell, assign, exchange, transfer, lease, sublease or discount any properties
yielding proceeds in excess of ten thousand and 00/100 dollars ($10,000) without first applying the proceeds
of such sale or sales to the outstanding balance of this Note.

         (e)    Borrower shall not directly or indirectly declare or make, or incur any liability to make, or
set aside any sum of money or assets to make, any distributions or dividends other than distributions for the
purpose of and only in amounts necessary to pay the income tax liability of Borrower’s members with
respect to Borrower’s income, and Borrower shall not repurchase, redeem, or otherwise acquire any issued
and outstanding ownership units of Borrower or any subsidiary of Borrower, without Lender’s consent
which shall not be unreasonably withheld.

         (f)     Borrower shall not, and Borrower shall not permit any of its subsidiaries to, enter into, or
cause, suffer or permit to exist any arrangement or contract with any of their other affiliates unless such
arrangement or contract (i) is fair and equitable to Borrower or such subsidiary, as applicable, (ii) is an
arrangement or contract of the kind which would be entered into by a prudent person in the position of
Borrower or such subsidiary, as applicable, with a person which is not one of its affiliates, and (iii) is not a
loan, advance or other extension of credit, which when added together with all other loans, advances and
extensions of credit to other affiliates of Borrower during any fiscal year, exceeds $50,000, without
Lender’s consent which shall not be unreasonably withheld. Borrower shall not make, incur, assume or
suffer to exist any investment in any other person, except in the ordinary course of business, except as
specifically set forth in and as existing on the date of its September 30, 2021 balance sheet previously
delivered to Lender; provided, however, that no investment otherwise permitted in this subparagraph (g)



                                                       5
      Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 6 of 11




shall be permitted to be made if, immediately before or after giving effect thereto, any Event of Default
shall have occurred and be continuing.

        10.     CHOICE OF LAW AND VENUE; SUBMISSION TO JURISDICTION; SERVICE OF PROCESS.
              (a)    THE VALIDITY OF THIS NOTE, ITS CONSTRUCTION, INTERPRETATION, AND
ENFORCEMENT, AND THE RIGHTS OF THE PARTIES HERETO SHALL BE DETERMINED UNDER, GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS (WITHOUT REFERENCE TO THE
CHOICE OF LAW PRINCIPLES THEREOF). THE PARTIES AGREE THAT ALL ACTIONS OR PROCEEDINGS ARISING
IN CONNECTION WITH THIS NOTE SHALL BE TRIED AND LITIGATED ONLY IN THE STATE AND FEDERAL
COURTS LOCATED IN THE COUNTY OF HARRIS, STATE OF TEXAS.

              (b)    BORROWER AND LENDER HEREBY SUBMIT FOR THEMSELVES AND IN RESPECT OF
THEIR PROPERTY, GENERALLY AND UNCONDITIONALLY, TO THE JURISDICTION OF THE AFORESAID COURTS
AND WAIVE, TO THE EXTENT PERMITTED UNDER APPLICABLE LAW, ANY RIGHT THEY MAY HAVE TO ASSERT
THE DOCTRINE OF FORUM NON CONVENIENS OR TO OBJECT TO VENUE TO THE EXTENT ANY PROCEEDING IS
BROUGHT IN ACCORDANCE WITH THIS SECTION.

              (c)   NOTHING IN THIS NOTE SHALL BE DEEMED OR OPERATE TO AFFECT THE RIGHT OF
LENDER OR BORROWER TO SERVE LEGAL PROCESS IN ANY OTHER MANNER PERMITTED BY LAW, OR TO
PRECLUDE THE ENFORCEMENT BY LENDER OR BORROWER OF ANY JUDGMENT OR ORDER OBTAINED IN
SUCH FORUM OR THE TAKING OF ANY ACTION UNDER THIS NOTE TO ENFORCE SAME IN ANY OTHER
APPROPRIATE FORUM OR JURISDICTION.

        11.     WAIVER OF JURY TRIAL. BORROWER AND LENDER HEREBY WAIVE THEIR
RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING
OUT OF THIS NOTE OR ANY OF THE TRANSACTIONS CONTEMPLATED HEREIN, INCLUDING CONTRACT
CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW OR STATUTORY
CLAIMS. BORROWER AND LENDER REPRESENT THAT EACH HAS REVIEWED THIS WAIVER AND EACH
KNOWINGLY AND VOLUNTARILY WAIVES HIS OR ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION
WITH LEGAL COUNSEL. IN THE EVENT OF LITIGATION, A COPY OF THIS NOTE MAY BE FILED AS A
WRITTEN CONSENT TO A TRIAL BY THE COURT.

        12.     Notices. Unless otherwise specifically provided herein, all notices shall be in writing
addressed to the respective party as set forth below, and may be personally served, emailed or sent by
overnight courier service or United States mail:

        If to Borrower:                  Sourcewater, Inc. dba Sourcenergy
                                         ATTN: Joshua Adler, CEO
                                         1801 Main Street, Suite 1300
                                         Houston, Texas 77002
                                         Email: Josh@sourcenergy.com


        With a copy, which shall not constitute notice, to:

                                         R. Reese & Associates, PLLC
                                         5555 San Felipe, Suite 2000
                                         Houston, Texas 77056
                                         Attn: Rachel Reese, Esq.

                                                     6
       Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 7 of 11



                                          Email: rreese@rreeselaw.com

        If to Lender:                     Energy Debt Holdings LLC
                                          PO Box 249
                                          Oklahoma City, Oklahoma 73101
                                          ATTN: North Whipple
                                          Email: nwhipple@bisonok.com, kblake@bisonok.com

Any notice given pursuant to this Section shall be deemed to have been given: (a) if delivered in person,
when delivered; (b) if delivered by fax or electronic mail, on the date of transmission if transmitted on a
Business Day before 4:00 p.m. at the place of receipt or, if not, on the next succeeding Business Day; (c) if
delivered by overnight courier, two (2) days after delivery to such courier properly addressed; or (d) if by
United States mail, four (4) Business Days after depositing in the United States mail, certified mail, return
receipt requested with postage prepaid and properly addressed. Any party hereto may change the physical
address, email address, or fax number at which such party is to receive notices hereunder by notice to the
other party in writing in the foregoing manner. For the purposes of this Note, “Business Day” shall mean
any day that is not a Saturday, Sunday, or other day on which national banks are authorized or required to
close.

        13.     Legal Representation. Each party hereto hereby acknowledges and agrees that such party
has had the opportunity to consult with and obtain the advice and counsel of an attorney of such party’s
own choosing. In this regard, Lender hereby further acknowledges, agrees and consents that the law firm
of R. Reese & Associates, PLLC acts as legal counsel solely to Borrower with respect to this Note, and that
such firm does not act as legal counsel to Lender with respect to this Note.

         14.      Construction. Any rule of construction that a document is to be construed against the
drafting party shall not be applicable this Note. The parties hereto agree that the terms of this Note are the
product of negotiation of the parties, and that this Note shall not be construed against any party by virtue
of the fact that one party may have drafted this Note.

       15.      Binding Effect. The obligations under this Note shall be binding upon Borrower and
Lender and their respective successors and assigns.

        16.      Assignment. Neither party hereto may assign, pledge, hypothecate or otherwise transfer
this Note to another party without the prior written consent of the other party hereto.

         17.     Captions. The captions in this Note are inserted for convenience only and are not to be
used to limit the terms herein.

      18.     Amendments. This Note shall not be amended or otherwise modified unless such is
documented by written instrument signed by both Borrower and Lender.

        19.      Severability. In case any provision in or obligation under this Note shall be invalid, illegal
or unenforceable in any jurisdiction, the validity, legality and enforceability of the remaining provisions or
obligations, or of such provision or obligation in any other jurisdiction, shall not in any way be affected or
impaired thereby.

       20.    Counterparts. This Note may be executed in one or more counterparts, each of which shall
be deemed an original and all of which together shall constitute one and the same Note. Delivery of an


                                                      7
      Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 8 of 11




executed counterpart of this Note by facsimile or portable document format (pdf) shall be equally as
effective as delivery of an original executed counterpart of this Note. Any party delivering an executed
counterpart of this Note by facsimile or portable document format (pdf) also shall deliver an original
executed counterpart of this Note but the failure to deliver an original executed counterpart shall not affect
the validity, enforceability, or binding effect hereof.

                                         [Signature Page Attached]




                                                      8
Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 9 of 11
     Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 10 of 11



                 IN WITNESS WHEREOF, the parties hereto have entered into and executed this Note as
of the 22nd day of December, 2021, to be effective as of the date first above written.

                                             BORROWER:

                                             SOURCEWATER, INC., a Delaware corporation


                                             By:

                                             Name: Joshua Adler

                                             Its: CEO



                                             LENDER:

                                             Energy Debt Holdings LLC, a Texas limited liability
                                             company


                                             By:

                                             Name:

                                             Its:




                           Signature Page to Senior Secured Credit Note
Case 23-30960 Document 131-1 Filed in TXSB on 07/27/23 Page 11 of 11




                        ADVANCE SCHEDULE

       Advance Number     Date Advance Was   Principal Amount of
                                Made               Advance
             1

             2

             3

             4

             5

             6

             7

             8

             9

             10

             11

             12

             13

             14

             15

             16

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